                                Case 01-01139-AMC                       Doc 22766-32                Filed 08/13/09            Page 1 of 4

                           Client Sort by Exposure (Community, Family Member, SUbcontractor, Worker) CARD patients oniy·
          A Zelenak                                                                Nicholas                        7/27/2005 . 1/18/194 o Subcontractor
        ~   Albert - PR Mary Albert                                                Thomas                            1/9/1999     7/7/193 3 Worker 189
         fJ..
            Allen                                                                  James                          . 6/9/199 3· 8/5/194 4 Worker
        A Allen                                                                    Thomas                        10/12/1999      7/1/192 9 Worker
        A Auge                                                                     Eugen~.                       11/27/2000      914/194 2 Worker
        D Badgley - PR Linnea· Badgfey                                             William                          1/1/1996     3/6/191 8 Worker
        D Baenen - PR Loretta Cook                                                 Louis                          7/22/1998 3/18/192 1 Worker
        A .Baeth                                                                   Kenneth                       10/29/1997 4118/192 2 Worker
        0 Baker - PR Frances Baker                                                 Bruce                          3/21/2000 1/26/193 8 WOiker
        0 Balum - PR Cynthia Ba/um                                                James                             611/2005 ·5/8/195 1 Worker
        A Barnes                                                                  Anson                         10122/1996       412/193 6 Worker
       A. Barnes                                                                  Robert                           7/1/1998 1212/192 7 Worker
       A Beagle                                                                   Robert                          3113/1995 9/25/1943 Worker
       A Benoit.                                                                  Edward                          8/26/1998 10/22/1922 Worker
       A Bland                                                                    Donald                        1212012001 6/22/1942 Worker
       A Bosch                                                                    B.ernard                       1110/2001 1/29/1949 Worker
       A Bowker                                                                   Larry                        10/14/2002 10/27/1950 Worker
       0 Boyle - PR Lorinda, ·Gartner    ..
                                                                                 Patrick                         2125/2002 2119/1934 Worker
       D Brewington- PR Dolores McConnell                                        William                           6/1/1995 5/30/1928 Worker
      A Brossman.                                                                Raymond·                          3/112001 4/27/1957 Worker
     A . Cannon                                                                  Stuart                            5/5/1996 3/17/1939 Worker
     A    Carlson                                                                Randy                             1/6/1999 3/16/1956 Worker
     D Carvey - PR Ed Carvey??                                                   Edward                          8/12/1998 11/7/1921 Worker·
     D Cassidy -.PRDarrel CassidY                                                John                            ·5/9/2.001     2/6/1937 Worker
    A Caudill                                                                    Arthur                           111/1990      9/5/1937 Worker
    A     Challinor                                                              Gerald                         7/18/20"01 9/11/1940 Worker.
    A. Chalmers                                                                 Keith                           4/13/2000 11/14/1940 Wo~er
   .,
  . "\   Chapman                                                                George                          712211998 9/16/1950 Worker
         Cohenour·                                                              .James                          8/1211997 7/31/1938 Worker
     )   Collier - PR Glynda Olson                                              Glenn                          2125/2004 11/17/1926 Worker
    0 . Collinson - PR Linda Collinson.                                         Charles                        8125/2000 12125/1915 Worker
    A    Cook                                                                   Donald                         9/28/1999 . 3/11/1947 Worker
   A Craig                            ..                                       .Carl                           5/21/1997 1/30/1953 Worker
   0 Crill - PR Darlena Crill                                  ..              William                       10/16/2003 911.0/1938 Worker
   D Davidson - PR Kay DavIdson.                                               Richard                         9/2111998       4/9/1934 Worker
    A       Dav                                                                Dennis                        10/18/2004 3/13/1954 Worker
 .. A  Decker--·             ... .. ---_.. ..... _.- .. ._;.-.... ... ..
                                                           ,                .. Mark· . _.... _. , .. _ " ,   . 11/6/2000 -.1J.17It951. Worker - ..
                                       "                            ~

                                                                                                                                                          -
  .0 . Denning., PR Shannon Nagle                                              JQdy                            7/22/1998 11/20/1952 Worker
    0 DeShazer- PR David DeSn~e(··_· _.. ". -, ...                            Jack                               7/7/1997 ~/26/1921 Worker
    0 DeShazer - PR Jean DeShazer                                            Donald                           7/13/1989 11/15/1930 Worker
    0 Dickerman - PR Lois Dickerman~Auge                                     Alfred                           4/1312000 . 11/6/1920 Worker
    A Downing ..•                                                            Joseph                           5/1.3/1999 5/12/1925 Worker
   A   Dutton                                                                RLisseli                         7/14/1999 4/11/1953 Worker
   0 Eggers - PR Carol Eggers??                    .                         Eddie                              1/511999 2/20/1949 Worker
   A Erickson                                                                E:dwin                           10/2/2001 . 5/4/1942 Worker·
   A Farrar                                                                  Jack                             4/26/2000 11/24/1941 Worker
   A Fe/lenberg                                                              Ruben                            3/21/1985 211011924 Worker
   A Ferch                                                                  Warren Dean                       6/29/2000 3/26/1950 Worker
   A Fiebelkorn                                                             William                          7/28/1998        5/811938 Worker
   A Fincher                                                                Jerry                              8/2/2006 7/17/1943 Worker
   0 Finstad - PR Edith Finstad                                             Kenneth                            9/1/1998 11/22/1942 Worker
  A Foote                                                                   CeCil                            812412004· 4/17/1926 Worker
  A Fore                                                                    Bill                             9/15/1999 3/26/1944 Worker
.,A Fredenberg                                                              Orin                             7/28/1998 10/111934 Worker
 "l) Fuller - PR S·onnie Fuller                                             Robert                           5/27/1999 11/22/1930 Worker
~'A   Garrison                                                              John                             212112002        1/611947 Worker
  0 Gaston - PR Susan Grenfell                                              Edward                           7/15/1998 9/11/1927 Worker
  0 Gilden - PR to be Kathy Moore-Gilden                                    Scott                              5/812006       5/8/1963 Worker
                                                                                                                                           5/28/2008
                           Case 01-01139-AMC                                                      Doc 22766-32                    Filed 08/13/09              Page 2 of 4

                       Client Sort'by Exposure (Community, Flimily Member, Subcontractor, Worker) CARD patients only
       A   Graham                                                                                                    Scott                           11/19/1997 12120/195 3 Worker
    -~.P . Graham - PR Carol Graham
                                                                                                                     Robert                             4/1/1997 11/5/1927 Worker
          J) . Hagerty - PR John "Bill"Hagerty                                                                                                        2/16/1999      7/911909 Worker
                                                                                                                     William
         A Halsey                                                                                                       Ronald·                       6117/1997 6/18/1936 Worker
         A Hamann                                                                                                       Beverly                       6/27/2000     217/193 2 Worker
         A Hamann                                                                                                       Eugene                        6/27/2000 11/3/193 1 Worker
         D. Hansen - PR Sheryl Hansen                                                                                  David                         7/10/1997 11/23/1924 Worker
         A Heidel                                                                                                      Chester                         7/9/1997 6/10/1936 Worker.
         A Hendrickson                                                                                               . Franklin                     12/26/2000 5/1711961 Worker
         D Hendrickson - PR Franklin Hendrickson                                                                       Edmond                       11/20/1999 12/16/1941 Worker
        A . Hermsmeyer                                                                                                 Richard                         4/4/2001 7/21/193 8 Worker
        A Hill                                                                                                       . Wayne·                        4/26/2001 7/16/195 3 Worker
        A Hopkins                                                                                                      James                           7/6/1988 3/14/1941 Worker
        A Hurlbert, Jr .                                                                                              Ervin                            6/1/1994 .10/18/1951 Worker
        A . Hutton                                                                                                    George                         12/6/2001 2122/1954 Worker
        D . Hutton .' PRs Usa. Hutton-Woest & Penny Conway                                                            Kenneth                     . 12/6/1995 11/5/1939 Worker
        A Jacobson                                                                                                    James DeWayne 5/27/1998 12116/1929 Worker'
       A- Jacobson                                                                                                    Larry                         7/18/2000 1/12/1953 Worker
       A Jam                                                                                                          Louis                         5/30/2000 12/19/1944 Worker
       A Johnson                                                                                                      Donald                      11/17/2000 '6/511956 Worker
      A Johnson                                                                                                    . Orville.                         1/1/1993     4/6/1.938 Worker
      D Johnson - PRs Steven & Donald W. Johnson .                                                                   Donald                      '11/9/1981 ·1/911933 Worker
..
      A Jones                                                                                                        Eugene                         3/19/2004      5/4/1928 Worker
      D Kaeding - PR Loui.se Kaeding                                                                                 Donald                           5/2/1996 9/16/1922 Worker
      D Katarzy - PR Pam Starke                                                                                      Walter                           8/611997 8/1511916 Worker
      D Kelley'; PR Claudette Kirschenmann                                                                           Merton                          3/1/2000 11125/1937 Worker
     D. Kenworthy - FiR Patricia Kenworthy                                                                         . Jack                          4/28/2000 1/31/1940 Worker
  ,A Kilgore                                                                                                     . Lucille                       12/27/2000        6/5/1949 Worker
     l Knopp                                                                                                         Gordon                        5118/2000       1/9/1944 Worker
    :b.. Koester                                                                                                     Clyde                        .2.{15/2005. 1/16/1945 Worker
    A· Kujawa                                                                                                       Charles                          7/6/2005 2/10/1957 Worker
    A Lanman                                                                                                        Robert                           7/9/2003 12118/1~56 Worker
    A LeCount                                                                                                     . Virgene                      12/17/1998 . 4/4/1946 Worker
   A . Leib                                                                                                         John                           8/11/1999      9/9/1935 Worker
   A        Lucas                                                                                                   J.erome                     11/17/2001 1/20/1954 Worker
   A Ludwia                                    ,                                                                    Larry                         8/12/1999 .8/9/1939 Worker
   D '. lyle --PRGlenda-LYle . .... - .
                                     ~".'
                                                   ~~   -   __    •••   _0 ••   _   ._.   ~   ••• _   ••• _ .
                                                                                                                   John .... .c. .......... _ .. 121611993 .3113/1940 W.orke.r ...... _..   '   .-
   A. LVle, Jr                                 '.                                                                  Jimmie                         6/12/2001 4/17/1938 Worker
   A 'Mack                                   '-" ..
                                            --~.    ." ... - ..
                                                            -,'                      .~        -~'
                                                                                                                   Robert                         7/28/1998 3/14/1934 Worker
                                                                                                                                    _....•
   A     . Mallory                                                                                                 Alan                 f-         "41712000      917/1945 Worker
   A· Mason                                                                                                        Walter                       11117/1999 5/12/1926 Worker.
   A Maynard                                                                                                      Thurman                           1/111"987 12/27/1929 Worker
   A. McNeff                                                                                                      Timothy                        11/1/2001 12/811950 Worker
   D McWhirk - PR Phyllis MoWhirk                                                                                 Howard              ..       - 3/12/1998 10/16/1926 Worker
  A Moles                                                                                                         Lester                       . 1/1312000 '1/11/1944 Worker
  A       Moles                                                                                                   Steven                     .12/21/1999 10/18/1949 .W orker
  A Monroe                                                                                                        Dwane                            2/5/2001 10/29/1938 Worker
  A Moss                                                                                                          Kenneth                        813012001 7/18/1954 Worker
  D Murray - PR Betty Bauer                                                                                     . Thomas                           3/1/1997 7/29/1916 Worker
  D Nelson - PR Edd Nelson                                                                                        Robert                        7/16/1998        4/611935 Worker
  D Nicholls· PR Marlene Nelson                                                                                   Alvi"                            7/8/2002     417/1926 Worker.
  D Noble - PR Melissa Williams                                                                                  William                           7/7/1998 10/9/1938 Worker·
  A Norman, Sr                                                                                                   Michael                           5/9/2001     6/5/1953 Worker
,A Norton                                                                                                        Dean                           5/25/2005 5/24/1951 Worker
 \5 Oikle - PR Julie Randles                                                                                     Gerald                           9/8/1989 6/29/1925 Worker
 0 Oldha'm - PR Eva Oldham                                                                                       George                         5/11/1992 5/14/1926 Worker
 A Orr                                                                                                           Herbert                        3/12/1998 12/4/1943 Worker
 A       Orr                                                                                                     Robert                       11/19/1997 12/19/1948 Worker
                                                                                                                                                                             5/28/2008
                                                            Case 01-01139-AMC                                                   Doc 22766-32                                   Filed 08/13/09                                  Page 3 of 4

                                                   Client Sort by Exposure (Community, Family Member, SUbcontractor, Worker) CARD patients only·
          _IA'            Parker                                                                      Richard                      12/10/1998 3129/1927 Worker
          . t.            Paul                                                                        Claude                         8/15/2002 . 1016/1 923 Worker
               A Pennock                                                                              Alfred                           4/811999 12/25/1 928 Worker
            . A . Person                                                                              John                          8/13/1997 5/11/1939 Worker
              A Petrusha                                                                              Robert                        7/17/2001 6/1;311925 Worker
               D Post - PR Lois Theonnes                                                              Maurice                         .5/6/1999 . 2/1211931 Worker
              A Preston                                                                               Kenneth                       9/14/2000                 1/711942 Worker
             A Racicot                                                                               Charles                        4/24/2001                 3/411 935 Worker
             A Rantala                                                                               Gary                             3/8/2001                6/8/1955 Worker
             D Ravome - PR Judy Ravonie                                                            . Ronald                        7/26/2001 . 7/6/193~ Worker
             A Rice                                                                                  Leonard                          7/811998 . 9/18/1934 Worker
            A Riddle                                                                                 Clayton·                      7/16/1998 9/11/1941 Worker
            A Riech                                                                                  Kenneth. .                ·12/29/1999 11112/1941 Worker
            D· Rightmire - PR Donna Knoepfle                                                         Miles "Rusty"                 7/30/1998 10/4/1920 Worker
            ORiley - PR Karen Riley                                                                  Donald                        $/31/1981 5/16/1.939 Worker
            A . Risley                                                                               Stuart SteveIi8/15/2002 10/13/1 944 Worker
           A           Rosling                                                                       Michael                       1215/2001 12115/1952 Worker
           A Rucker, Jr                                                                             Joel                          3/15/2001 1212;3/1951 Worker
           o Ryan - PR Deborah Ryan                                                                 Royce                         6/15/1998 . 6/13/1931 Worker
           A Ryan. Sr                                                                               Michael                .. .8/11/2005 9/29J1941 Worker
           A          Sand                                                                          Andy                          5/29/2001 ',9/29/1949 Worker
           A          Scauflaire                                                                    Claude                        3/13/2001 1/19/1951 Worker
          A' Schad                                                                                  Jerome                     10/16/2000                   '1/3/1951 Worker
          A'· Schnackenberg                                                                         John                          1/25/2000                 7/3/1956 Worker
         A           Schnackenberg·                                                               ,Steven                        8/27/2000 10/19/1958 Worker
        /-;A:--t-::S:-'-C-:-"hu'-':':-'' -----""'-"'--:---'---:--'------,----:------1f::'S-:::i1/:,-:-:ie ··----I~8~12:,:.Q/:;:1799=-:8:+--:1-71!:-;1~3/~1.~93=-:9~Wc-::;:.o.:..;..rk:..::.e.:..-r
                                                                                                                                                                                              --,-----:-1
         A          Seav                                                                                                                           William                      6/4/2004 11/24/1935 Worker
    -"'lA ' Shattuck                                                                                                                               George                       3/1/2000 2/16/1941 Worker
        1 Shavlik                                                                                                                                  Richard                      3/7/2000                                 9/6/1952 Worker
        A Shelton                                                                                                                                  David                     7/19/2000 6/21/1939 Worker
 . . 0            Skramstad - PR Norita Skramstad                                                                                                  Lester                  11/13/1995                                    6/6/193S Worker
       A          Smerker                                                                                                                          Dennis                 10/27/199r 4/14/1 944 Worker
       A' Smerker                                                                                                                                  Raymond                   8/25/1997 9/26/1 954 Worker
       A         Smith                                                                                                                             Donald                      7/111998 4/12/1927 Worker
       A         Smith                                                                                                                             Michael               11/25/2000                                     9/2/1951 Worker
      A . Smith                                                                                                                                    Ronaid                '9/14/1994 . 2/3/1 945 Worker
    'ED~,_·-ES~mt:.:;·_=:_th:....-~P=R=-.::D~ia::.:·n~e~-r.:...:r0=_F:.ylef--~.-.:-;.;:-'-:--:"-_"-_.'_"_',_,,_-._.'_"-_"_.'__.+:R::-:e::.:x~,-·--"7-·~"":"·'''=-'='_:+'=.,_3J====L1:.:;'::::;t9:-:;6::.;;:Z.F,-::...-7T:/7:14::-::/~19~2~.1.+.W~o=.:.r:.;.:k.=;;er~, ';;.:.-':'-::"'~" ----1' .-
      D' Spady - PRs Doloris & Stuart Spady                                                                                      Raymond _.                            . 6/28/2002 1/12/1929 Worker
      A Spericer-                                          -- --- .                                 . .-'.' .- .. -           . Katherine .                                 8/18/2000 6/13/1928 Worker
      A Spletstoser                                                                                                             Dean                                        6/14/1990 . 2116/1938 Worker
     A Stacy                                                                                                                    James                                   11/14/20oa 5/23/1939 Worker
     A Steele                                                                                                                  Marvin                                      7/17/2001 3/~1/1,939 Worker
     A Stephenson                                                                                                               David                                   10/26/2000 7/11/1942 Worker.
     A 'Stonehocker                                                                                                             Robert                                       .3/6/2001 10/16/1956 Worker
     A Swennes'                                                                                                                 Jeffrey                                    6/15/1994 6/21/1954 Worker
     A Swenson                                                                                                                 David                                       1/11/2001 7/23/1943 Worker
  . A . Swenson                                                                                                                G a r y · 4/27/2000 12/4/1 936 Worker
    A Tennison                                                                                                                 Kathleen                                   9/10/1997 1/26/1954 Worker
    A Tennison                                                                                                                 Rory                                       6/30/1997                                   1/3/1949 Worker
 - A . Thom                                                                                                                    Leroy                                      7/25/2001 11/8/1954 Worker
   A Thomson                                                                                                                   Robert                                     4/19/2001 6/20/1958 Worker
   A . Torgison                                                                                                               Walter                                  . 12/9/1999 6/12/1 956 Worker
   A Trego                                                                                                                    Jerald                                     11/3/1998 ·6/10/1952 Worker
:. 0         Troyer, Sr.- PR Ira Troyer                                                                                       Ivan                                       9/15/1998 12/25/1914 Worker
  ~ Urdahl                                                                                                                    Lawrence                                   12/3/1998 7/18/1934 Worker
- A Urdahl, Jr                                                                                                                Albert                                  12/10/2000 10/1/1944 Worker
   A Viereck                                                                                                                  Richard                                   8/23/1990 4/29/1945 Worker
  A Vinson                                                                                                                    Harvey                                        1/3/2001 3/24/1940 Worker

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                        Case 01-01139-AMC            Doc 22766-32        Filed 08/13/09       Page 4 of 4


                    Client Sort by Exposure (Community, Famiiy Member. SUbcontraCt~r, Worker) CARD patients only·
    _ 0
    .,-   Vinson - PR Norma Vinson
          Volkenand
                                                                 Verle
                                                                 Jerry
                                                                                    1/10/1'997 1/31/1925 Worker
                                                                                    3/29/2001 8(18/195~ Worker
     A Waggener                                                  Ted               10/19/2000 ·7/9/1924 Worker
     A Warner                                                   Edgar                 3/9/1994 12/27/1946 Worker
     A Welch                                                    Charles             9/25/1996 9/191.1935 Worker
     A Wells                                                    David                3/3/2003 7/27/1942 Worker
     A' . Whitmarsh                                             Donald               7/211998    2/311943 Worker
    A Widic·                                                    Franklin            10/3/20DO    4/8/1949 fWorker
    0 Wilburn - PR Barbara Wjlburn                              Harold               1/1/1986    1/6/1917 Worker
    A Wilkes                                                    Robert               5/6/1996 11/26/1924 Worker ..
    P Wilkes,. Sr - PR Mary Wilkes-Sanner                       Lawrerice·           7/3/1997 11/3/19$3 Worker·
    A . Wifliams                                               George             12/29/1998 10/21/1947 Worker
    A Wood                                                     Keith .            . 7/1/2000 1112011945 Worker
    A· Wright                                                  Gerald                7/3/1996 ·7/28/1947 Worker
    A Wright                                                   Paul·            .. 5/28/1996     2/2/1944 Worker
    D Wriaht - PR Maraaret Wriaht                              Andrew               5/1/1996 5/31/1922 Worker




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